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2    San Francisco, California 94122
     Telephone Number (415) 989-1253
3

4
     Attorney for THY QUANG NGUYEN
5

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7
                                     UNITED STATES DISTRICT COURT
8
                                  NORTHERN DISTRICT OF CALIFORNIA
9
                                         SAN FRANCISCO DIVISION
10

11   UNITED STATES OF AMERICA,                           ) Case No.: CR. 05-0375-SI
                                                         )
12                  Plaintiff,                           ) STIPULATION AND ORDER
                                                         ) REGARDING WAIVER OF
13          Vs.                                          ) APPEARANCE
                                                         )
14   ENRIQUE CHAN, et al.,                               )
                                                         )
15                  Defendants.                          )
                                                         )
16                                                       )
                                                         )
17

18       The United States of America and defendant, Thy Quang Nguyen by and through his
19   attorney, Steven F. Gruel hereby stipulate that the defendant’s appearance at the Status
20
     Conference scheduled for October 14, 2005 at 11:00 a.m. may be waived. AUSA Scoble has
21
     authorized Mr. Gruel to sign on his behalf.
22
     SO STIPUALTED:
23
     DATED: October 12, 2005
24                                _/s/__________________________
                                  STEVEN F. GRUEL,
25
                                  Attorney for Defendant
26                                THY QUANG NGUYEN
     STIPULATION AND ORDER
     REGARDING WAIVER OF
     APPEARANCE
                                                   - 1
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3                                   _/s/________________________
     DATED: October 12, 2005       ANDREW SCOBLE
4                                  Assistant United states Attorney

5

6
                    ORDER REGARDING WAIVER OF DEFENDANT’S APPEARANCE
7
         PREDICATED on the above stipulation, the Court orders that the defendant’s appearance
8
     may be waived at the status conference scheduled for October 14, 2005 at 11:00 a.m.
9
                                                ISTRIC
10   IT IS SO ORDERED.                    T ES D        TC
                                        TA
                                  ________________________



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                                  SUSAN ILLSTON



                                                                             RT
                                  United States District Court
                                                          D Judge
                                                             TE
                                  UNIT




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                                                    Judge S
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     STIPULATION AND ORDER
     REGARDING WAIVER OF
     APPEARANCE
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